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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                      September 19, 2024
                 IN THE UNITED STATES DISTRICT COURT                   Nathan Ochsner, Clerk

                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA,                 §
                                          §
                                          §
            V.                            § Criminal Action No: 4:24-cr-00298
                                          §
EITHAN DAVID HAIM                         §



                        ORDER ON DEFENDANT'S
                       MOTION FOR. SHOW CAUSE

For good cause shown, it is hereby Ordered that the Defendant's Motion for Show

Cause is Denied.

Signed at Houston, Texas, this lt_orM2024.



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                                          District Court Judge David Hittner
